                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


JOSHUA WALTER, individually,
and as representative of a Class of
Participants and Beneficiaries
of the Kerry Inc. Savings Plan,

               Plaintiff,                                  Case No. 21-cv-539

       v.

KERRY, INC., et al.,

               Defendants


                 PLAINTIFF’S SUPPLEMENTAL BRIEF IN LIGHT OF
                       HUGHES V. NORTHWESTERN UNIVERSITY


                                      INTRODUCTION

    On February 8, 2022, the Court issued an Order (ECF No. 21) that permitted the

parties to file supplemental briefs on or before March 11, 2022, to succinctly address

how Hughes v. Northwestern Univ., 142 S. Ct. 737 (2022), impacts the pending mo-

tion to dismiss in this case.1 Plaintiff, Joshua Walter (“Mr. Walter”), by and through

his counsel, Walcheske & Luzi, LLC, now files his supplemental brief in this matter

in further opposition to Defendants’ motion to dismiss.



1 Once arguments primarily relied upon by Defendants in their briefing have been cleared
away in light of Hughes, the Court should deny Defendants’ motion to dismiss because: (1)
Mr. Walter has standing to challenge all of the Plan’s investments; (2) the Court should not
decide at the pleading stage factual disputes between the parties including those dealings
with methods of calculations, the characteristics of apt recordkeeper and fund comparators,
and the nature of services provided by recordkeepers; and (3) Mr. Walter has plausibly al-
leged facts that state a claim for breach of the duty of loyalty, breach of the duty to monitor,
and a failure to disclose necessary Plan information.

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                                        ARGUMENT

    In Hughes v. Northwestern University, the United States Supreme Court consid-

ered the pleading standard for establishing a breach of the fiduciary duty of prudence

under ERISA in a case involving employer-provided retirement plans materially sim-

ilar to the one in this case. Three plan participants in two Northwestern University

retirement plans alleged that the plans “offer[ed] needlessly expensive investment

options” and “failed to monitor and control the fees they paid for recordkeeping, re-

sulting in unreasonably high costs to plan participants.” See Hughes, 142 S. Ct. at

739-740. The Seventh Circuit Court of Appeals dismissed the participants’ claims for

failure to state a claim under Rule 12(b)(6) in Divane v. Northwestern Univ., 953 F.3d

980 (7th Cir, 2020),2 holding that the participants’ allegations failed to state a claim

as a matter of law, “based on the court's determination that [participants’] preferred

type of low-cost investments were available as plan options.” See Hughes, 142 S. Ct.

at 740.

    The Supreme Court unanimously found “flawed” the reasoning of the Seventh Cir-

cuit in Divane and vacated and remanded the case for reconsideration by the Seventh

Circuit. Id. More specifically, the Supreme Court held that, “[s]uch a categorical rule

is inconsistent with the context-specific inquiry that ERISA requires and fails to take

into account [Defendants’] duty to monitor all plan investments and remove any im-

prudent ones.” Id. (citing Tibble v. Edison Int'l, 575 U.S. 523, 530, (2015)). The Su-

preme Court further explained that under its previous decision in Tibble, “ERISA's


2In their past briefing in this case, Defendants relied almost exclusively on Divane (see, e.g.,
ECF No. 11 (Defendants’ brief in support of motion, citing Divane on eleven out of thirty
pages)); and ECF No. 16 (Defendants’ reply brief in support of motion, citing Divane on ten
out of fifteen pages).)

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duty of prudence [should be interpreted] in light of the common law of trusts and

determined that ‘a fiduciary normally has a continuing duty of some kind to monitor

investments and remove imprudent ones,’” see Hughes, 142 S. Ct. at 741 (quoting

Tibble, 575 U.S. at 530), and “[a] plaintiff may allege that a fiduciary breached the

duty of prudence by failing to properly monitor investments and remove imprudent

ones.” Id.

       Having vacated Divane and its reasoning, the Supreme Court in Hughes set the

    following pleading standard for ERISA excessive fee claims:

         [Courts] should consider whether petitioners have plausibly alleged a
         violation of the duty of prudence as articulated in Tibble, applying the
         pleading standard discussed in Ashcroft v. Iqbal, 556 U.S. 662 (2009),
         and Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007). “Because the
         content of the duty of prudence turns on ‘the circumstances ... prevailing’
         at the time the fiduciary acts, § 1104(a)(1)(B), the appropriate inquiry
         will necessarily be context specific.” Fifth Third Bancorp v. Dudenhoef-
         fer, 573 U.S. 409, 425 (2014). At times, the circumstances facing an
         ERISA fiduciary will implicate difficult tradeoffs, and courts must give
         due regard to the range of reasonable judgments a fiduciary may make
         based on her experience and expertise.

Hughes, 142 S. Ct. at 742. Under this standard, Mr. Walter has plausibly alleged in

a context-specific manner, based on the circumstances prevailing at the time, that

Defendants breached their duty of prudence by unreasonably failing to properly mon-

itor investments and service providers, including recordkeepers and managed ac-

count service providers, and remove imprudent ones. (Complaint ¶¶ 2, 5, 25, 31, 65,

83, 89-91, 108-110, 134, 176, 199, 244.)

         This is so even when one gives “due regard to the range of reasonable judg-

ments a fiduciary may make based on experience and expertise,”3 because Mr. Walter


3Mr. Walter anticipates that Defendants will likely place inordinate weight on this last sen-
tence from Hughes, suggesting that this sentence makes it somehow easier for plan

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has alleged that “Defendants followed a fiduciary process that was done ineffectively

given the objectively unreasonable fees paid for [recordkeeping and managed ac-

counts],” (Complaint ¶¶ 115, 199, 201), and “A hypothetical prudent fiduciary would

not select a share class that results in higher fees to Plan Participants when a share

class that results in lower fees to Plan Participants is available for the identical port-

folio management services.” (Id. at ¶ 166.) In short, under Hughes, Mr. Walter has

“allege[d] that [Defendants] failed to monitor the Plans’ investments in a number of

ways, including by retaining recordkeepers that charged excessive fees . . ., and ne-

glecting to provide . . . otherwise-identical alternative investments.” Hughes, 142 S.

Ct. at 741.

       In arguing against Mr. Walter’s duty of prudence claims, Defendants have relied

    almost exclusively on the reasoning in Divane, and its predecessor cases,4 in assert-

    ing that those claims should be dismissed for failing to a state a claim. Specifically,

    with regard to Mr. Walter’s duty of prudence claims, and contrary to Hughes, De-

    fendants maintain that this Court should grant their motion to dismiss on the basis

    on: (1) notions of paternalism and participant choice; (2) the availability of prudent




fiduciaries to escape liability for fiduciary breaches and to have their 12(b)(6) motions
granted. There is nothing new, however, in this last sentence. This is the same pleading
standard utilized in the now-vacated Divane opinion: a plaintiff “must plausibly allege action
that was objectively unreasonable.” See Divane, 953 F.3d at 988. Mr. Walter has undeniably
done that as discussed below.

4   These predecessor cases include significant parts of two other Seventh Circuit decisions -
Loomis v. Exelon Corp., 658 F.3d 667 (7th Cir. 2011), and Hecker v. Deere & Co., 556 F.3d
575 (7th Cir. 2009). Hecker, Loomis, and Divane were substantially relied on by two district
court cases – Albert v. Oshkosh Corp., 2021 WL 3932029 (E.D. Wis. Sept. 2, 2021), appeal
filed (7th Cir. October 1, 2021); and Martin v. CareerBuilder, LLC, No. 19-cv-6463, 2020 WL
3578022 (N.D. Ill. July 1, 2020).


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    funds along with imprudent ones in the Plan; (3) categorical reasoning based on the

    level of Plan fees being per se reasonable as a matter of law; and (4) there being no

    requirement under ERISA to solicit bids to find reasonable fees and service provid-

    ers.

       The Supreme Court in Hughes determined each of these bases to be in error as

    “flawed reasoning,” see Hughes, 142 S. Ct. at 740, as will be illustrated in the fol-

    lowing sections. Accordingly, this Court should deny Defendants’ Motion to Dismiss

    Plaintiff’s Complaint in light of Hughes and based on previous arguments made by

    Mr. Walter in his briefing on this motion.5

      A.     The Court Should Deny Defendants’ Motion to Dismiss Because Hughes
             Rejected Notions of Paternalism and Participant Choice in ERISA Cases

      As in Hughes, Mr. Walter is essentially alleging that the Kerry Plan fiduciaries

failed to attempt to use the size of the Plan as leverage to obtain reasonable managed

account options, share classes, and recordkeeping fees, and that the fiduciaries failed

to investigate alternative reasonable options altogether. More specifically, Mr. Wal-

ter alleges that the defendants failed to use a prudent process because they did not

put recordkeeping or managed account services out for competitive bidding on a reg-

ular basis. (Complaint, ¶¶ 84-85, 111-112.) As a result, Mr. Walter asserts, the record-

keeping and managed account service fees paid by the Plan greatly exceeded the nor-

mal range for plans its size and the recordkeeping fees were more than double what



5 There is little doubt that Defendants’ counsel will seek to limit the impact of Hughes on
their motion to dismiss, perhaps going so far as saying that Hughes only forecloses a single
argument set forth in Defendants’ motion to dismiss, while leaving undisturbed other reasons
that Mr. Walter’s claims should be dismissed. As argued below, however, Mr. Walter believes
that Hughes has a much more significant impact on this Court’s decision involving his duty
of prudence claims for four (4) independent reasons.

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the Plan should have paid. (Id. ¶¶ 126, 200.) The discrepancies tell a plausible story,

suggesting that the failure to shop around or negotiate with the Plan recordkeeper,

Great-West (Empower), had real-world implications. See Allen v. GreatBanc Trust

Co., 835 F.3d 670, 678 (7th Cir. 2016) (“[A]n ERISA Plaintiffs alleging breach of fidu-

ciary duty does not need to plead details to which [he] has no access, as long as the

facts alleged tell a plausible story.”)

       In response, Defendants have inappropriately relied on notions of paternalism

and participant choice in finding that Mr. Walter had not stated a claim in his Com-

plaint. (ECF No. 11, at p. 30) (“Nor can Plaintiff use the ERISA prudence standard to

force the Plan to offer his investment of choice, as ‘plaintiffs and courts cannot use

ERISA to paternalistically dictate what kinds of investments plan participants make

where a range of investment options are on offer.’”) (quoting Martin, 2020 WL

3578022, at *4 (citing Divane, 953 F.3d at 989 and Loomis, 658 F.3d at 673-74).) The

Supreme Court in Hughes clearly overruled this aspect of Divane, Loomis, Hecker,

and Martin, that embrace notions of paternalism and participant choice in this con-

text because such reasoning “fails to take into account [Defendants’] duty to monitor

all plan investments and remove any imprudent ones,” and fails to recognize that “a

fiduciary is required to conduct a regular review of its investment.” See Hughes, 142

S. Ct. at 740-41 (citing Tibble, 575 U.S. at 528, 530).6 Instead, such cases wrongly

“focused on another component of the duty of prudence: a fiduciary’s obligation to



6Like Divane itself, Defendants do “not apply Tibble’s guidance.” See Hughes, 142 S. Ct. at
741. Indeed, Defendants did not mention Tibble even once in their briefing of this motion. On
the other hand, Mr. Walter in his Complaint, and in his briefing, places the appropriate em-
phasis on Tibble. (Complaint, ¶¶ 2, 24, 31, 37.)


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assemble a diverse menu of options.” Hughes, 142 S. Ct. at 741-42.

           The Supreme Court found that the Seventh Circuit in Divane “erred in relying

on the participants’ ultimate choice over their investments to excuse allegedly impru-

dent decisions by respondents,” id. (emphasis added), and in placing “exclusive focus

on investor choice elided this aspect of the duty of prudence.” Id. This is because, even

in a defined contribution plan in which participants are responsible for selecting their

plan investments, see ERISA § 404(c), 29 U.S.C. § 1104(c), “plan fiduciaries are re-

quired to conduct their own independent evaluation to determine which investments

may be prudently included in the plan's menu of options.” See Hughes, 142 S. Ct. at

742 (citing Tibble, 575 U.S. at 529–530).7 “If the fiduciaries fail to remove an impru-

dent investment from the plan within a reasonable time,” the Hughes Court stressed,

those fiduciaries “breach their duty [of prudence].” Id. Thus, the district court’s reli-

ance on notions of paternalism and participant choice in Divane, Loomis, Hecker, and

Martin, was misplaced and an inappropriate basis on which to grant Defendants’ mo-

tion to dismiss.

      B.      The Court Should Deny Defendants’ Motion to Dismiss Because Hughes
              Rejected Arguments Based on Availability of Other Prudent Funds

       Defendants also erred with regard to their share class arguments because they

    relied on a proposition of law that has now been firmly rejected by the Court in

    Hughes. With regard to share class claims, Defendants based their assertions on the



7This part of Hughes overrules that part of the Seventh Circuit decision in Hecker in which
the Seventh Circuit, in discussing the safe harbor under ERISA Section 404(c), 29 U.S.C.
§1104(c), had previously held that “[i]f particular participants lost money or did not earn as
much as they would have liked, that disappointing outcome was attributable to their individ-
ual choices. Given the numerous investment options, varied in type and fee, neither Deere
nor Fidelity. . . can be held responsible for those choices.” Hecker, 556 F.3d at 590.

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Seventh Circuit’s decisions in Divane, Loomis, Hecker, and Martin, for the proposi-

tion that “Plaintiff cannot allege a plausible breach of the duty of prudence claim

because the Plan offers a wide range of investment options to Plan participants in

addition to the R6 Share Class.” (ECF No. 28, at p. 11.) Put another way, “[i]n the

[Seventh Circuit’s] view, because [Plaintiff’s] preferred type of investments were

available, they could not complain about the flaws in other options.” Hughes, 142 S.

Ct. at 742.

   The Supreme Court in Hughes has now expressly overruled these parts of Di-

vane, Loomis, Hecker, and Martin regarding a “wide range of investment options.”

Thus, this Court should reject this reasoning for dismissing Mr. Walter’s share class

claims.

  C.       The Court Should Deny Defendants’ Motion to Dismiss Because Hughes
           Rejected Arguments Based on Categorical Reasoning

   As part of his claims concerning the excessive recordkeeping fees of the Plan, Mr.

Walter, through extensive charts, graphs, and tables based upon publicly available

information, established that the same or different recordkeepers had accepted

lower recordkeeping fees from similar plans with approximately the same number

of participants and the same amount of assets under management during the Class

Period. (Complaint ¶¶ 121-122.) Indeed, Mr. Walter alleged in his Complaint that

the recordkeeping fees paid by the Plan were more than double what the Plan should

have paid and greatly exceeded the normal range for plans its size. (Id. at ¶ 126.)

Based on these facts that existed contextually at the time that the plan fiduciaries

made their recordkeeping decisions, Mr. Walter asserted that these allegations es-

tablished a plausible inference of a flawed process and fiduciary imprudence. (Id. at

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¶ 5.)

   Nevertheless, the Defendants maintain with regard to Mr. Walter’s excessive

recordkeeping fees claim that “the 0.82% expense ratio for the R6 Share Class here

falls well within the range of expense ratios that courts in this Circuit have regularly

recognized to be prudent as a matter of law.” (ECF No. 11, at p. 29) (emphasis added)

(citing Loomis, 658 F.3d at 669; Hecker, 556 F.3d at 586; Martin, 2020 WL 3578022,

at *6; Divane, 2018 WL 2388118, at *7 (N.D. Ill. May 25, 2018).) In other words,

Defendants embraced categorical rules and arguments in their motion to dismiss.

   In rejecting that approach, the Supreme Court in Hughes held that “[s]uch a cat-

egorical rule is inconsistent with the context-specific inquiry that ERISA requires.”

Hughes, 142 S. Ct. at 740. Rather than rely upon certain recordkeeping fee levels as

per se reasonable as a matter of law, it is necessary to engage in a “context-specific”

evaluation of the Plan. See id.; Dudenhoeffer, 573 U.S. at 425; see also Lafreniere v.

R.R. Donnelley & Sons, Inc. et al., Case No. 1:20-cv-07158, Order (ECF No. 27, at p. 3)

(N.D. Ill. January 3, 2022) (“Defendants’ argument that prudent processes and busi-

ness rationales have permissibly resulted in higher fees in other cases says nothing of

Defendants’ processes or rationales for the fees in this case.”) Because Defendants rely

on a categorical approach, rather than engaging in context-specific evaluation of the

Plan at issue in this case, its contentions, as pertains to excessive recordkeeping fees,

should be rejected and its motion to dismiss denied on this ground.

  D.     The Court Should Deny Defendants’ Motion to Dismiss Because Hughes
         Rejected Arguments Based on Competitive Bidding

   In seeking to have the Complaint dismissed, Defendants argue that “Divane is

clear—to state a plausible claim for relief, the Complaint must identify an

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‘alternative-record keeper that would have accepted’ the fee proposed by Plaintiff

and explain how a ‘lower-cost record-keeper would perform at the level necessary to

serve the best interests of the plans’ participants.’” (ECF 16, at p. 13) (quoting Di-

vane, 953 F.3d at 990-91.) Defendants continue by maintaining that “Defendants are

simply ‘not required to search for a recordkeeper willing to take [$49] per year per

participant as plaintiff[] would have liked.’” (ECF 11, at p. 21.) (quoting Divane, 953

F.3d at 891.) Because Hughes vacated Divane, the Defendants’ reliance on Divane

in this instance is necessarily in error. In any event, Hughes has addressed this is-

sue.

   First, the Supreme Court in Tibble established that “a fiduciary is required to

conduct a regular review of its investment.” Tibble, 575 U.S at 528. In Hughes, the

Supreme Court emphasized Tibble and held that, “plan fiduciaries are required to

conduct their own independent evaluation to determine which investments may be

prudently included in the plan's menu of options.” Hughes, 142 S. Ct. at 741 (citing

Tibble, 575 U.S. at 529-30) (emphasis added.) In light of this holding, courts will be

hard pressed post-Hughes to explain how exactly such “independent evaluations”

can be undertaken without “determin[ing] the true market price at a given time . . .

[and] obtain[ing] competitive bids through some process.” See George v. Kraft Foods

Global, Inc., 641 F.3d 786, 800 (7th Cir. 2011) (failure to solicit bids, and higher-

than-market recordkeeping fees, supported triable fiduciary breach claim).

   In short, Mr. Walter’s recordkeeping, share class, and managed account fee alle-

gations required Defendants to undertake a prudent, fiduciary process to determine

whether maintaining service providers and share classes in the Plan was reasonable.



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 As alleged by Mr. Walter, and as now supported by Hughes’, by:

          [S]oliciting bids from other providers[,] a prudent Plan Fiduciary can
          quickly and easily gain an understanding of the current market for
          similar [recordkeeping] services and have an idea of a starting point
          for negotiation. Accordingly, the only way to determine the true mar-
          ket price at a given time is to obtain competitive bids through some
          process.

(Complaint, ¶ 107.) Thus, Defendants were required to undertake an “independent

evaluation” through soliciting bids, or through other competitive means, to ensure

that their recordkeeping, share class, and managed account fees were reasonable

given the relevant market. Because Mr. Walter plausibly alleged that Defendants did

not take these steps, this Court should dismiss Defendants’ motion to dismiss on this

ground as well.

                                      CONCLUSION

       For all the above reasons, Defendants’ motion to dismiss should be denied in

its entirety.

   Dated this 11th day of March, 2022
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